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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
YOUNOUS CHEKKOURI,                      )
                                        )
                       Petitioner,      )
                                        )
       v.                               )    Civil Action No. 05-329 (UNA)
                                        )
BARACK OBAMA,                           )
President of the United States, et al., )
                                        )
                       Respondents.     )
                                        )

 REPLY IN FURTHER SUPPPORT OF PETITIONER’S MOTION TO DISCLOSE EX
                          PARTE FILING


       This matter is of particular urgency given that Petitioner’s next hearing before the

Moroccan magistrate judge is January 6, 2016. Petitioner’s counsel need to know the content of

the diplomatic assurances in order best to advocate for their client’s release.

       The law on ex parte filings is clear: they are permitted “only in the rarest of

circumstances,” United States v. Libby, 429 F. Supp. 2d 18, 21 (D.D.C. 2006), and only where

the Government has articulated a “counterveiling need for confidentiality.” Clifford v. United

States, 136 F.3d 144, 149 (1998); Abourezk v. Reagan, 785 F.2d 1043, 1061 (1986) (“Exceptions

to the main rule [against ex parte filings] are both few and tightly contained.”). Respondents

have failed to articulate any reason why disclosing the contents of the ex parte filing to

Petitioner’s counsel – who are security cleared, bound by the Protective Order, and already

entrusted with protected information about the diplomatic assurances – would jeopardize any

governmental interest. Indeed, when asked, the Government suggested only that it would lose

credibility with Morocco if it made disclosure, a ludicrous contention given the circumstances.

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       This Court has repeatedly recognized that the Government bears a high burden of

justifying ex parte filings on secrecy grounds when the opposing side has security clearances.

See, e.g., United States v. Libby, 429 F. Supp. 2d 18, 23 (D.D.C. 2006) (citing cases) (“there are

fewer threats to national security in disclosing classified documents to a defendant and his

attorney who have obtained security clearances”). Thus, where the Government has sought to

conceal classified information in an ex parte filing from an attorney with a security clearance, the

Court has required a detailed submission that must include:

       [A] declaration or affidavit, executed by an intelligence community official with the
       requisite classification review authority, which (1) describes the reasons for the
       classification of the information at issue, (2) sets forth the potential harm to national
       security that could result from its disclosure, and (3) explains why the defense, based
       upon appropriate classification guidelines, does not have a “need-to-know the
       information” in its unaltered form. This showing must detail why the classified
       documents the government is producing ex parte are of a nature and quality
       distinguishable from the classified documents already produced to the defendant.

Libby, 429 F. Supp. 2d at 25. A fortiori, the presumption against ex parte submissions is more

stringent – and the Government’s burden higher – where, as here, the information being hidden

from security-cleared counsel is not classified, but merely designated protected. Respondents

have not even attempted to meet this burden.

       Respondents’ assertion that Petitioner’s counsel is not entitled to the Supplemental

Notice in any event because it is not “material” is also baseless. Respondents rely on language

from Odah v. United States, 559 F.3d 539 (D.C. Cir. 2009), requiring that a petitioner seeking

discovery of classified information show that the information is “relevant and material” to the

lawfulness of the petitioner’s detention. Id. at 548. But Odah made clear that the materiality

requirement only applies where petitioner seeks discovery of classified information.           That

requirement does not extend to requests to review protected information in an ex parte filing.

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See id., at 547 (“although a finding of materiality is a prerequisite to ordering disclosure of

classified information, it is not a prerequisite to ordering disclosure of an unclassified

substitution”).   Furthermore, Petitioner has repeatedly explained why understanding the nature

and scope of the diplomatic assurances is relevant and material to Mr. Chekkouri’s defense, as

well as the ongoing dispute as to whether Respondents’ secured Mr. Chekkouri’s consent to

transfer to Morocco through misrepresentation or acted improperly in an attempt to divest this

Court of jurisdiction.1

        The contents of the diplomatic assurances are relevant and material whether or not

Petitioner’s counsel is able to publicly disclose them. Indeed, there are numerous possible ways

in which having a more granular understanding of the assurances could help Petitioner’s counsel

devise more effective means of advocating on his behalf, without actually revealing any

additional details about the assurances. For example, Petitioner’s counsel has repeatedly asserted

to Moroccan authorities and press outlets that there was an unambiguous promise not to

prosecute Mr. Chekkouri or detain him for more than 72 hours. If the actual assurances reflect a

different understanding, Petitioner’s counsel need to know so that they can cease making

representations that undermine their credibility with the Moroccan authorities who do know the

contents of the assurances.      There are surely other ways that cannot be foreseen without

examining the contents of the ex parte filing. The assurances are central to the current dilemma

and Petitioners should not have to speculate in a vacuum as to how their content would be

utilized to secure Mr. Chekkouri’s purportedly promised freedom.                  Furthermore, if the

assurances differ from what was conveyed to Petitioner prior to his repatriation, that would be

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 Pet’r’s Reply to Res’ts’ Opposition to Pet’r’s Motion for Jurisdictional Discovery and Cross-Motion to
Dismiss, ECF No. 403-2; Pet’r’s Supp. Memo., ECF No. 402.

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relevant and material to the ongoing dispute about whether Respondents improperly secured his

consent and deprived this Court of jurisdiction – matters which could be litigated without ever

disclosing the contents of the ex parte filing to the public.

       For the foregoing reasons, and in light of Petitioner’s imminent hearing in Morocco,

Petitioner’s counsel request immediate disclosure of the contents of the ex parte communication.



Date: January 5, 2016                              Respectfully submitted,



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